      Dated: 1/24/2020




                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
 IN RE:                                         )
                                                )       CHAPTER:       11
 ANGELIA NICHOLE SHOCKLEY.                      )       CASE NO.:      19-00138
   Debtor.                                      )       JUDGE:         HARRISON
                                                )
 JASON BRUBACHER, with derivative               )
 standing on behalf of the bankruptcy estate,   )       ADV.           19-90110
    Plaintiff,                                  )       PROC.
                                                )
 v.                                             )
                                                )
 ANGELIA NICHOLE SHOCKLEY, and                  )
 RANDAL RISHER                                  )
   Defendants.                                  )

                   ORDER GRANTING DEFAULT JUDGMENT
          AGAINST ANGELIA NICHOLE SHOCKLEY AND RANDAL RISHER

       The Plaintiff having filed with the Court a Motion for Entry of Default Judgment Against

Defendant Angelia Nichole Shockley and Defendant Randal Risher, notice of the motion being

provided to the parties to which notice is required pursuant to Local Rule 9013-1, no objections to

this motion having been presented, and default having been entered against Defendant Angelia

Shockley on December 9, 2019, and separate default having been entered against Defendant

Randal Risher also on December 9, 2019:

       IT IS HEREBY ORDERED as follows:

       A.      The Plaintiff is granted a monetary judgment against Defendant Angelia Shockley

and Defendant Randal Risher, jointly and severally, for the value of transfer, in the amount of

$400,000.00 pursuant to 11 U.S.C. § 550(a)(1) (the “Monetary Judgment”), plus pre-judgment




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interest from the date of the Complaint (June 6, 2019) to the date of the entry of the judgment, at

a rate of 5.50% per annum, and post-judgment interest from the date of Monetary Judgment until

satisfaction of the Monetary Judgment at the federal rate applicable upon the time of entry pursuant

to 28 U.S.C. § 1961.

          B.    The Plaintiff is granted a judgment awarding turnover of the real property located at

2088 Buffalo Valley Road, Cookeville, Tennessee 38501 (the “Real Property”). Accordingly, this

Order hereby (i) divests title to the Real Property from Randal Risher, and (ii) revests title to the Real

Property to Angela Shockley, for the purpose of administration of the Real Property for the benefit of

the bankruptcy estate.

          C.    This Order shall be, and hereby is, authorized to be recorded with the Register of

Deeds for Putnam County, Tennessee to establish the reconveyance of the Real Property to Angela

Shockley, for the purpose of administration of the Real Property for the benefit of the bankruptcy

estate.

          D.    Notwithstanding the in rem relief provided herein (recovery of the Real Property for

the administration by and benefit of the bankruptcy estate) and the in personam relief (monetary

judgments against Defendants), the Plaintiff shall be entitled to only (1) aggregate satisfaction of the

Monetary Judgment through collection efforts whether in personam or in rem, or combined.

          E.    The issue of recovery of Plaintiff’s attorney fees and costs shall be reserved for

consideration upon affidavit by counsel.

This order was signed and entered electronically as indicated at the top of the first page.




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Submitted for Entry:


/s/ Gray Waldron
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Attorney for Plaintiff




                                                           This Order has been electronically
                                                           signed. The Judge's signature and
                                                           Court's seal appear at the top of the
                                                           first page.
                                                           United States Bankruptcy Court.

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